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“ . UNITED STATES DISTRICT COURT
. DISTRICT OF NEW JERSEY

CHAMEERS OF
NICHOLAS H, POLITAN

    
   
 
 

MARTIN LUTHER XING 4
FEDERAL BUILDING

U.S, COURTHOUSE

JUBGE 50 WALNUT ST., RO@
P.O. BOX 999

NEWARK, N.J, 07107-0999

NOT FOR PUBLICATION

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LETTER OPINION

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Gerald J. Smit, Esq.
14 Sarah Court

Bridgewater, NJ 08807

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Attorney for Plaintiff 3 23 5
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Christopher H. Mills, Esq. oS Oo “ots
Terrence J. Nolan, Esq. vs 4 wo
COLLIER, JACOB & MILLS ot
580 Howard Ave. Coa
Somerset, Nd 08873 A %
Attorneys for Defendants

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AT&T Corp. And
The AT&T Management Pension Plan

Re: Management Employees of AT&T
v. AT&T and AT&T Management Pension Plan
Civil Action No. 98-3660 (NHP)

Dear Counsel:

This matter comes before the Court on defendants’ motion for

partial dismissal of plaintiff's Complaint. The Court heard oral

argument on March 22, 1999. For the reasons explained below,

defendants’ motion is GRANTED and the Complaint is DISMISSED
WITHOUT PREJUDICE.

BACKGR

The plaintiffs in this case are management level employees

 

 
 

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of AT&T, and they bring this suit challenging recent changes made
to the AT&T Management Pension Plan. The Complaint includes 17
separate counts, which purport to assert claims arising under
ERISA, federal and state anti-discrimination laws, and contract
law. Defendants move to dismiss the ERISA claims because the
Complaint does not allege that plaintiffs have exhausted their
administrative remedies. Defendants also move to dismiss the
remaining counts~--except for the federal age discrimination

claims-~because they are preempted by ERISA.

DISCUSSION
This Court will dismiss a complaint pursuant to Rule
12(b) (6) if it appears beyond doubt that the plaintiff can prove
no set of facts that would entitle him or her to relief. See

Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993).

I. ERISA Preemption

ERISA is a “comprehensive administrative statute” designed

to promote the interests of employees and their beneficiaries in

employee benefit plans. See Shaw v. Delta Airlines, Inc., 463
U.S. 85, 90 (1983). The statute’s preemption clause, which the

Supreme Court has described as “conspicuous for its breadth,”

Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 138
 

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way that disadvantaged older employees. These state-law claims
obviously “relate to” an ERISA benefits plan, and they are

therefore preempted.

B. Counts 6-8: Age Discrimination

Counts Six through Eight allege claims of age discrimination
in violation of the ADEA and the NJLAD. Plaintiffs seek an award
of compensatory and punitive damages based upon the alternative
theories of disparate treatment and disparate impact. Defendants
move to dismiss these counts for failure to state a claim and for
failure to exhaust administrative remedies.

Turning first to plaintiffs’ federal claims, the ADEA
requires claimants to exhaust administrative remedies prior to
bringing suit in federal court. See 29 U.S.C. § 626(d). In this
case, plaintiffs do not allege that they filed a timely charge of
discrimination with the appropriate administrative agency. The
federal claims must therefore be dismissed without prejudice.’

With regard to plaintiffs’ LAD claims, they are preempted to

 

'To the extent that plaintiffs appear to allege a disparate
impact theory of liability, the claims are dismissed with
prejudice. See Hazen Paper y. Biggins, 507 U.S. 604, 617-18
(1993) (Kennedy, J., concurring) (expressing doubt about whether
“disparate impact” is a viable theory of liability under the ADEA
and noting that the Supreme Court has not yet addressed the
issue); see also DiBiase yv mithKlin am _ Grou 48 F.3d 719
(3d Cir.), 732 cert, denied, 516 U.S. 916 (1995) (noting that “in
the wake of Hazen, it is doubtful that traditional disparate
impact theory is a viable theory of liability under the ADEA”).

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the extent that they implicate rights or remedies not provided by
the ADEA. See Shaw v. Delta Air Lines, Inc., 463 U.S. 85 (1983).
That is, state-law claims are saved from preemption only to the
extent that they fall within the ambit of section 514(d) of
BRISA, 29 U.S.C. § 1144(d), which provides that “[n]othing in
this title shall be construed to alter, amend, modify,
invalidate, impair, or supersede any law of the United States

or any rule or regulation issued under any such law.” Both
federal and state courts have therefore concluded that state
anti-discrimination statutes are saved from preemption only if
they are “necessary to the continued life of the federal
program.” Nolan v. Otis Elevator Company, 102 N.J. 30, 41, cert.
denied, 479 U.S. 820 (1986); see also Shaw, 463 U.S. at 108-09.
Therefore, the question presented in this case is whether
preemption would impair the ADEA. See Nolan, 102 N.J. at 46.

In Nolan, the New Jersey Supreme Court held that an age
discrimination claim must be brought within the statute of
limitations established by the ADEA, regardless of whether the
NJLAD provides for a longer prescriptive period. The Court
reasoned that the LAD’s longer limitations period “does not
further the goals of the ADEA so as to escape ERISA preemption.”
id. Following Nolan, this Court held that ERISA also preempts an
unexhausted LAD claim if the analogous federal claim would be

subject to dismissal for failure to exhaust administrative

 
 

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remedies~-because “to allow plaintiffs’ NJLAD claim to survive
preemption would be to permit plaintiffs to exercise rights to
which they would not be entitled under federal law.” Alston v.
Atlantic Electric Company, 962 F. Supp. 616, 625 (D.N.J.

1997) (citing Nolan, 102 N.J. at 46}.

In this case, the state and federal discrimination claims
must be dismissed for failure to allege that the plaintiffs
exhausted their administrative remedies. The punitive damages
claims under the LAD are preempted because such damages are not

“necessary to the continued life of the” ADEA. Nolan v. Otis

Elevator Company, 102 N.J. 30, 41, cert, denied, 479 U.S. 820

(1986). Similarly, plaintiffs’ “disparate impact” claims are
preempted. See DiBiase v. SmithKline Beecham Group, 48 F.3d 719

(3d Cir.), 732 cert. denied, 516 U.S. 916 (1995).

c. Remaining Counts

Count Ten alleges the tort of intentional infliction of
emotional distress. This claim is preempted by ERISA because it
relates to the AT&T Pension Plan.

Counts Eleven through Fifteen purport to assert causes of
action arising out of AT&T’s early retirement program, which
allegedly required participating employees to sign a deficient
release, Plaintiffs have cited no support--and this Court has

found none--for the contention that such conduct, if proven,

 
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creates an independent cause of action. See Williams v. General
Motors Corp., 901 F. Supp. 252 (E.D. Mich. 1995) (holding that
invalid waiver does not create separate cause of action). These
counts will therefore be dismissed with prejudice.

Counts Sixteen and Seventeen assert claims under ERISA which
seek “to recover benefits due under the terms of the pension
plan, to enforce rights under the terms of the plan, and to
clarify rights to future benefits under terms of the plan as
provided by [ERISA], 29 U.S.C. § 1132(a)(1)(B).” Complaint 11
148-54. Plaintiffs do not allege that they exhausted AT&T’s

administrative remedies before filing suit or why exhaustion

would be futile. These counts will therefore be dismissed

without prejudice.

CONCLUSION
For the reasons explained above, defendants’ motion to
partially dismiss the Complaint is GRANTED. Counts One through
Five and Counts Ten through Fifteen are dismissed with prejudice;
the balance of the Complaint is dismissed without prejudice.
Plaintiffs are granted 45 days within which to file an amended

class action complaint consistent with this Letter Opinion and

  

Federal Rule of Civil Procedure 23.

 

NICHOLAS H. POLITAN ~
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